
983 So.2d 1245 (2008)
Dionne McINTOSH, Appellant,
v.
James A. McINTOSH, Appellee.
No. 3D07-2202.
District Court of Appeal of Florida, Third District.
June 25, 2008.
Catherine A. Riggins, for appellant.
Leonardo Renaud, for appellee.
Before SHEPHERD and SALTER, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Affirmed. See Canakaris v. Canakaris, 382 So.2d 1197 (Fla.1980); Applegate v. Barnett Bank of Tallahassee, 377 So.2d 1150 (Fla.1979).
